Case 5:21-mj-00524-STE Document 48 Filed 09/22/21 Page 1of1

COURTROOM MINUTE
INITIAL APPEARANCE AFTER CRIMINAL COMPLAINT

CASE NO. _M-21-524-STE DATE _ 9/22/2021 TIME: 15 minutes

UNITED STATES OF AMERICA vs _JEROME THOR CAMPBELL

 

 

 

MAGISTRATE JUDGE GARY M. PURCELL DEPUTY CARRIE JAMES

PLF CNSL_THOMAS SNYDER DFT CNSL_J.P. HILL

PT SERVICES JONATHAN SHETH/JOYCLIN JAKSONS INTERPRETER _
Defendant appears, custody of USM, with Counsel. in Ctrm 201, 3:00 P.M.
Defendant _ states his/her true name SAME Age 61

 

Defendant informed of Complaint and of any affidavit filed therewith.

Defendant advised of his/her right of consular notification.

Court inquires of Plaintiff regarding notifying victim(s) of their rights.

Defendant informed that he/she is not required to make a statement and that any statement
made by him/her may be used against him/her.

Government recommends Defendant be released on bond.
X Parties informed of FRCrP 5(f) obligation under Brady and possible consequences.
Govt recommends Dft be released on bond / detained based on risk of flight and/or

danger to the community and requests a -day continuance/is ready to proceed with the detention hearing.
Upon motion of the Govt and request for continuance by (both) Govt & Dft, detention hearing is set for

Defendant waives right to detention hearing. Waiver of Detention Hearing and Consent to
Order of Detention Pending Further Proceedings entered. Detention Order entered.

Defendant requests the Detention Hearing be postponed at this time reserving the right to
request a hearing at a later date should Defendant be released from current hold / sentence.

X Defendant informed of right to a Preliminary Hearing, which was held on 9/15/2021 in Northern
District of Oklahoma.

Preliminary hearing waived. Written waiver entered.

Preliminary and/or Detention hrg set

The Court finds good cause to exceed the 3 and 5-day time limits provided by te Bail reform Act. A
Detention Hearing will not be held at this time based upon Dfts federal hold/sentence (in this or
other jurisdictions). Should Dft be released from the hold/sentence, a Detention Hearing will be
promptly held upon request of either party.

Defendant temporarily detained on showing of good cause pending Preliminary/Detention Hrg.
Written Order entered.

Defendant released on previously posted bond w/conditions per Release Order.

Bond set at with conditions per Release Order as Court finds that the release of the Dft
on a P.R. bond or an unsecured appearance bond would not reasonably assure the Dfts appearance in
court as required and the safety of the community.

Defendant remanded to custody of USM pending execution of bond.

X Defendant remanded to custody of USM.
x Defendant detained per Detention Order entered on 9/15/2021 by Judge Huntsman (Northern District
of Oklahoma.

> [P< Ibe [oe [de [de

 

 
